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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:03-cr-00041-MP-AK

LINSOME A. BOYD,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on the Defendant Boyd’s motion to proceed in forma

pauperis on appeal. Doc. 704. Under Fed. R. App. P. 24(a)(1), a party seeking to proceed in

forma pauperis on appeal must file a motion with the district court, including an affidavit listing

the information set out in Fed. R. App. P. 24(a)(1)(A)-(C). The Defendant has done so.

However, the Court, under Fed. R. App. P. 24(a)(4) may certify that the appeal is not taken in

good faith and for that reason deny the motion to proceed in forma pauperis.

       As set out in the order at Doc. 685, Defendant’s sentence was reduced in accordance with

the amendments to the sentencing Guidelines. Although the Court had the discretion to reduce

Defendant’s sentence below the amended Guideline range, after considering the sentencing

factors under 18 U.S.C. § 3553, the Court found that only a reduction comparable to the original

sentence was warranted. Since this decision was within the discretion of the Court, Defendant

cannot show any merit for his appeal. Accordingly, the Court hereby certifies that the appeal is

not taken in good faith. The motion to proceed in forma pauperis on appeal, Doc. 704, is

therefore denied.
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        DONE AND ORDERED this         19th day of June, 2008


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




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